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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

  UNITED STATES OF AMERICA                 :

  vs.                                      : CRIMINAL NO.: 23-00146-JB

  DERRICK FITZGERALD DIAL                  :


                        ACCEPTANCE OF GUILTY PLEA
                        AND ADJUDICATION OF GUILT


        Pursuant to the Report and Recommendation of the United States

  Magistrate Judge (Doc. 29) and without any objection having been filed by the

  parties, the plea of guilty of the Defendant to Count One of the Indictment, is now

  accepted and the Defendant is adjudged guilty of such offense. A sentencing

  hearing has been scheduled for February 26, 2024, at 11:30 a.m.

        DONE and ORDERED this the 10th day of January 2024.



                                    s/JEFFREY U. BEAVERSTOCK
                                    CHIEF UNITED STATES DISTRICT JUDGE
